Case 12-40518   Doc 262   Filed 09/28/18 Entered 09/28/18 16:30:12   Desc Main
                           Document     Page 1 of 5
Case 12-40518   Doc 262   Filed 09/28/18 Entered 09/28/18 16:30:12   Desc Main
                           Document     Page 2 of 5
Case 12-40518   Doc 262   Filed 09/28/18 Entered 09/28/18 16:30:12   Desc Main
                           Document     Page 3 of 5
Case 12-40518   Doc 262   Filed 09/28/18 Entered 09/28/18 16:30:12   Desc Main
                           Document     Page 4 of 5
Case 12-40518   Doc 262   Filed 09/28/18 Entered 09/28/18 16:30:12   Desc Main
                           Document     Page 5 of 5
